                         22-10964-mg          Doc 2553-1 Filed 04/28/23 Entered 04/28/23 17:01:38                           Exhibit
                                                    Bankruptcy Rule 2019 List Pg 1 of 3



                                                      BANKRUPTCY RULE 2019 EXHIBIT
                         LIST OF MEMBERS OF THE AD HOC GROUP OF EARN ACCOUNT HOLDERS
     Name1 Presented in              Earn Account Balance               Custody Account Balance            Withhold Account              Borrower’s
     Alphabetical Order                                                                                        Balance                   Collateral /
                                                                                                                                       Account Balance
    Broad Reach                  USDC
    Consulting, LLC              1,336,516.38
    (Manager: Jesse Lund)
    James Corr                   BTC: 4.61671800471206                  BTC:                               0                          0
                                 ETH: 51.7185579547167                  0.00696149054727818
                                 CEL: 2.03721003193565
                                 USDC: 1.61506363137011

    Irina Dukhon                 BTC 0.409064501564151                  BTC
                                 CEL 1274.53345859768                   0.00689009647768001
                                 COMP 0.0769893154800942                CEL 2
                                 ETH 6.31587617242128
                                 LINK 10.1659261730152
                                 MATIC 203.593798646465
                                 PAXG 1.47577622118197
                                 SNX 66.4480995220389
                                 USDC 10431.0470786072
                                 XLM 50.8937453078368
    Nicholas Farr                USDC: 14603717.18                      0                                  0                          0
                                 XRP: 1466.49
                                 SGB : 217.29
                                 CEL: 1.11

1
 The balances on this sheet are based upon the Debtors’ Schedules and/or as provided by the claimants. All rights to dispute the Debtors’ scheduling of claims–
and to argue that customer deposits are not property of the Debtors’ estates under Section 541 of the Bankruptcy Code–are expressly reserved. The addresses and
contact information for all members of the Ad Hoc Committee of Earn Account Holders is provided as Offit Kurman, P.A. c/o Jason Nagi, Esq and Joyce Kuhns,
Esq., 590 Madison Ave 6th Floor, New York, NY 10022.

                                                                               i
                     22-10964-mg    Doc 2553-1 Filed 04/28/23 Entered 04/28/23 17:01:38     Exhibit
                                          Bankruptcy Rule 2019 List Pg 2 of 3



 Name1 Presented in          Earn Account Balance      Custody Account Balance   Withhold Account        Borrower’s
 Alphabetical Order                                                                  Balance             Collateral /
                                                                                                       Account Balance
Bradley Giardiello         BTC: 0.0242462711164994     CEL: 47.1698113207547     0                    0
                           ETH: 19.6984564187484
                           USDC: 604902.415751484
Immanuel Herrmann          BTC: 2.483712               CEL: 3.701600
                           ETH: 26.372890
                           USDC: 9,595.38
                           MATIC: 2,698.327311
                           LINK: 128.666594
                           UNI: 133.235822
                           CEL: 1,065.651300
                           AAVE: 3.538616
Jonathon Holt              GUSD: 614,825.92            0                         0                    0
                           ETH: 531.314448
                           CEL: 346.937
Kulpreet Khanuja           BTC
                           6.8665223947402
                           ETH
                           190.137187997613
Lisa Lang,                 1) BTC: 0.398287339949853   CEL: 124.870672961273     0                    0
representing               GUSD: 258501.048485097
1) Stillahn-Lang Trust     CEL: 45.840780063841
    DTD 2/19/2015          2) BTC:
2) Science of Business,    0.0203842665186694
    Inc. Defined Benefit   GUSD: 352830.270899074
    Pension Plan and       USDC: 26323.761083428
    Trust
Brett Perry                BTC: 54.2961724085811
                           ETH: 4406.35363063367
                           CEL: 1.15116892753898


                                                           ii
                 22-10964-mg   Doc 2553-1 Filed 04/28/23 Entered 04/28/23 17:01:38   Exhibit
                                     Bankruptcy Rule 2019 List Pg 3 of 3



 Name1 Presented in     Earn Account Balance    Custody Account Balance   Withhold Account        Borrower’s
 Alphabetical Order                                                           Balance             Collateral /
                                                                                                Account Balance
Courtney Burks        AAVE 0.688969054586088    AVAX                      0                    0
Steadman              ADA 18425.2843733153      9.964647511041099
                      AVAX 109.898272250714
                      BCH 4.20279772445611
                      BTC 2.00768716760193
                      CEL
                      11145.1980150606 COMP
                      0.118456260955766 DOT
                      4.21504531882493 ETH
                      37.507996070603
                      LINK 94.4074576000886
                      LTC
                      38.2128593204545 MATIC
                      8632.74504477845 MCDAI
                      8.22934911654831
                      PAX
                      389.610512296379
                      SNX 2989.71438953844
                      UMA 73.8034118016999
                      UNI
                      28.0541657408893
                      USDC 523.626443694396
                      XRP 1761.74155969221




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